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                                                                        December 19, 2017

  VIA ECF
  Honorable Brian M. Cogan
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

           Re:      Lawson et al. v. Rubin et al. No. 1:17-cv-06404-BMC
                    Response to Defendant Schnur’s Letter (Dkt. No. 40)

  Dear Judge Cogan:

          I represent Plaintiffs Hillary Lawson, Kristina Hallman, and Stephanie Caldwell and I
  write in response to Defendant Schnur’s supplemental pre-motion conference letter. (Dkt. No.
  40.) Defendant Schnur argues that the claims against her should be dismissed on three grounds:
  (1) Plaintiffs failed to allege Schnur engaged in RICO predicate acts; (2) any predicate acts of
  obstruction of justice or witness tampering occurred after the Plaintiffs’ injuries; and (3) Schnur
  was not aware of the objective of the alleged Enterprise.1 None of Defendant Schnur’s
  arguments warrant dismissal of the Complaint.

                                    Predicate Acts Committed By Schnur

          Plaintiffs plead adequately that Schnur committed at least two predicate acts. For
  example, Plaintiffs allege that Schnur engaged in “obstruction of criminal investigations (18
  U.S.C. § 1510(a)), and tampering with a witness through intimidation (18 U.S.C. §§ 1512(b)
  and 1512(d)),” (Complaint, dated November 2, 2017, Dkt. No. 1, “Compl.” ¶ 313). Plaintiffs
  also allege that “Schnur agreed to represent Hallman, despite obvious conflicts of interest, and
  violations of her duties as an attorney” (Compl. ¶ 281), and even that Schnur drafted
  correspondence to send to Plaintiff Hallman’s attorney (Compl. ¶ 288) in an attempt to convince
  him to let Schnur know about the ongoing criminal action. This misconduct consisted of either
  obstruction of criminal investigations or tampering with a witness, both of which are
  enumerated acts of racketeering under 18 U.S.C. § 1961(1).



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    Plaintiffs already responded to some of Defendant Schnur’s arguments in Plaintiffs’ December 4, 2017, letter in
  response to Defendants’ original pre-motion conference letters (Dkt. No. 36), and incorporate those arguments
  herein.
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                        Plaintiffs Adequately Allege Obstruction of Justice

           Plaintiffs allege that Schnur obstructed justice in violation of 18 U.S.C. § 1510(a), which
  makes someone guilty of obstruction if she “willfully endeavors by means of bribery to
  obstruct, delay, or prevent the communication of information relating to a violation of any
  criminal statute of the United States by any person to a criminal investigator.” Plaintiffs plead
  all of these elements. Defendant Schnur offered free legal services to one Plaintiff in association
  with a criminal action specifically to protect the Enterprise from exposure. (Compl. ¶ 278.)
  However, when it came time to defend herself, Defendant Schnur threatened to stop paying for
  the criminal attorney if Plaintiff told the truth about what happened the night she was arrested.
  (Compl. ¶ 279.) This amounts to tens, if not hundreds, of thousands of dollars in legal expenses,
  as well as potential jail time, for one Plaintiff due to Defendants’ attempted bribery. Moreover,
  this prevented Plaintiff from communicating important information not only to the district
  attorney in charge of her case and the judge, but to federal investigators who surely would be
  interested in the interstate crimes the Enterprise has committed. The reasoning behind this was
  to prevent any criminal lawsuit in federal court, which Schnur, as a former prosecutor was
  aware may be a possibility if Plaintiff Hallman testified truthfully.

          Schnur engaged in witness tampering in violation of 18 U.S.C. § 1512(b), which
  provides “[w]hoever knowingly uses intimidation, threatens, or corruptly persuades another
  person, or attempts to do so, or engages in misleading conduct toward another person, with
  intent to . . . influence delay or prevent the testimony of any person in an official proceeding . . .
  cause or induce any person to withhold testimony . . . or hinder, delay, or prevent the
  communication to a law enforcement officer or judge of the United States of information
  relating to the commission of a federal offense,” has committed witness tampering. 18 U.S.C.
  § 1512(b)(1)-(3). Schnur knowingly attempted to prevent Plaintiff Hallman from coming
  forward to criminal investigators, judges, and federal authorities with her testimony regarding
  the true events that transpired the night she was arrested. (Compl. ¶¶ 37-45.) Lastly, Plaintiffs
  allege that Schnur had contact with at least Plaintiff Hallman as Plaintiffs allege Schnur drafted
  a letter to Hallman’s criminal attorney to allow Schnur access to all information regarding
  Hallman’s criminal case. (Compl. ¶ 288.) Plaintiff pleads adequately that Schnur has obstructed
  justice and tampered with witnesses.

                         Schnur’s Conduct Further Harmed the Plaintiffs

           Schnur argues that even if she did obstruct justice and tamper with a witness, it is not a
  predicate act because it occurred after the Plaintiffs’ injuries. Cover-ups of misconduct may be
  in furtherance of a RICO scheme where such cover-ups are designed to “conceal[] the scheme
  itself in furtherance of its perpetration.” World Wrestling Entm't, Inc. v. Jakks Pac., Inc., 530 F.
  Supp. 2d 486, 513 (S.D.N.Y. 2007) (quoting Phil. Reserve Supply Co. v. Nowalk & Assocs.,
  Inc., No. 91–CV–0449, 1992 WL 210590, at *6 (E.D.Pa. Aug. 25, 1992). Here, Defendant
  Schnur attempted to conceal what happened to Plaintiff so that the Enterprise could continue its
  conduct without fear of reprisal. This conduct further harmed Plaintiffs as it permitted the
  Enterprise to continue to violate all other predicate acts (which were ongoing while the criminal


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  prosecution of Plaintiff Hallman occurred and which may even be ongoing today with regards
  to other victims). Schnur’s acts further harmed the Plaintiffs.

                       Schnur Was Aware of The Enterprise’s Conduct

          Schnur was fully aware of the Enterprise’s conduct. Plaintiffs allege, throughout their
  Complaint, that Schnur attempted to cover-up the acts of the Enterprise (Compl. ¶¶ 65), drafted
  non-disclosure agreements to prevent Plaintiffs from revealing the Enterprise (id. ¶¶ 64, 103,
  199), and that she attempted to represent Plaintiff Hallman at the request of Defendant Rubin,
  knowing that such representation was for the benefit of Rubin and the Enterprise and not
  Plaintiff Hallman (id. ¶ 280-282, 288-289, 295). Schnur knowingly joined the Enterprise and
  was aware of its conduct at all times.

                                                             Respectfully submitted,



                                                             John G. Balestriere

  cc:    Counsel of Record




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